   Case: 2:17-cr-00150-ALM Doc #: 45 Filed: 10/02/20 Page: 1 of 1 PAGEID #: 202



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                                   2:17-cr-150(l)
                                                             CHIEF JUDGE MARBLEV
    V.



 ALl JAMA,

                Defendant.


                                             ORDER


         This matter comes before the Court on the United States' Motion to Dismiss the


Preliminary Order of Forfeiture (Doc, 44) which was entered in this case on December 19, 2018

at Document 34. The Court finds the United States' Motion to Dismiss the Preliminary Order of

Forfeiture well taken and this Motion is GRANTED. The United States shall, within thirty (30)

days of the entry of this Order, release its Lis Pendens action filed with the Franklin County Court

of Common Pleas at Case No. 18LP00002. In addition, neither this Order, nor the United States*

Motion, shall relieve the defendant form any other monetaiy penalties, including assessments and

restitution, imposed upon him by this Court which the United Slates may collect.

                ORDERED this ^dav of                   C^t                    ,2020.

                                              HONOI^^^E ALGENO^ L. J^iARBrFY
                                              CHIEF U^^ED STATES DISTRICT JUDGE
